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                 UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF FLORIDA
                         TAMPA DIVISION
CIN-Q AUTOMOBILES, INC.,         )
et al.,                          )
                   Plaintiffs,   )
        v.                       )
BUCCANEERS LIMITED               )            Case No. 8:13-cv-01592-AEP
PARTNERSHIP and JOHN DOES )
1-10,                            )                 Magistrate Judge
                     Defendants, )                Anthony E. Porcelli
                                 )
                                 )
TECHNOLOGY TRAINING              )
ASSOCIATES, INC., et al.,        )
                    Intervenors. )

          CHANGE OF ADDRESS AND TELEPHONE NUMBER
      PLEASE TAKE NOTICE, that the address and telephone number for Ross
M. Good has changed to the following:
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Date: August 12, 2024               Respectfully submitted,
                                    /s/ Ross M. Good
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                                    Inc.
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                         CERTIFICATE OF SERVICE

       I hereby certify that on August 12, 2024, I electronically filed the foregoing
with the Clerk of the Court by using the CM/ECF system, which served all relevant
parties.

Date: August 12, 2024                     /s/ Ross M. Good
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